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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

United States of America,
Plaintiff,
Vs.
Mickey Roy Anderson, Sr.,
Defendant.

THE GRAND JURY CHARGES:

CR-17-00297-PHX-DLR(JZB) _

INDICTMENT

VIO:

18 U.S.C. §§ 1153 and 1111
CIR-Second Degree Murder)
ount |

18 U.S.C. §§ 924(c)(1)(A) (iit) and Gj)
(Use of a Firearm During

a Crime of Violence)

Count 2

18 U.S.C. § saad) and
28 U.S.C. § 2461(c)
(Forfeiture Allegations)

COUNT 1

On or about January 23, 2014, in the District of Arizona, within the confines of the

Colorado River Indian Tribes, Indian Reservation, Indian Country, MICKEY ROY

ANDERSON, SR., an Indian, did unlawfully kill A.R.M., with malice aforethought.

In violation of Title 18, United States Code, Sections 1153 and 1111.

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COUNT 2

On or about January 23, 2014, in the District of Arizona, MICKEY ROY
ANDERSON, SR., during and in relation to a crime of violence as defined in Title 18,
United States Code, Section 924(c)(3), to wit: Second Degree Murder, as alleged in Count
1 of this Indictment, a felony prosecutable in a court of the United States, did knowingly
use, carry, possess, brandish, and discharge, in furtherance of the crime of violence, a
Glock 19, 9mm pistol, and the use of such pistol caused the death of A.R.M.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(ii) and (J).

FORFEITURE ALLEGATION

The allegations contained in Counts 1 and 2 of this Indictment are hereby realleged
and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18,
United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c).

Upon conviction of the offenses in violation of Title 18, United States Code, Sections
1111, and 924(c)(1)(A)Gii) and (j), MICKEY ROY ANDERSON, SR. shall forfeit to the
United States pursuant to Title 18, United States Code, Section 924(d) any firearms and
ammunition involved in the commission of the offense, including, but not limited to: one
Glock 19, 9mm pistol, serial number VRS086 and one Glock 19, 9mm magazine with three
unfired rounds of ammunition.

If any of the property described above, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without

difficulty, the United States of America shall be entitled to forfeiture of substitute
property pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
28, United States Code, Section 2461(c).

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All pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461 (c).

A TRUE BILL

s/ ,
FOREPERSON OF THE GRAND JURY
Date: February 28, 2017

ELIZABETH A. STRANGE
Acting United States Attorney
District of Arizona

s/
CHRISTINA J. REID-MOORE
Assistant U.S. Attorney

